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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 THEOS ENTERTAINMENT
 INTERNATIONAL, LLC,
                        Plaintiff,                      CIVIL ACTION FILE
 v.                                                     NO. 1:11-cv-2432-SCJ
 KEVIN PAPPAS, an individual,
                      Defendant.

                                       JUDGMENT

       This action having come before the court, Honorable Steve C. Jones, United States

District Judge on this court's order of June 14, 2012, and the court having determined that

plaintiff has failed to comply with said order, it is

       Ordered and Adjudged that this action be DISMISSED WITHOUT PREJUDICE

for failure to effectuate service of process pursuant to Fed. R. Civ. P. 4(m).

       Dated at Atlanta, Georgia this 18th day of July, 2012..


                                                    JAMES N. HATTEN
                                                    CLERK OF COURT


                                               By: s/Amanda Querrard
                                                      Deputy Clerk
Prepared, Filed and Entered
In the Clerk's Office
    July 18, 2012
James N. Hatten
Clerk of Court

By:s/Amanda Querrard
      Deputy Clerk
